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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN


In re:                                                           Chapter 11

BARFLY VENTURES, LLC, et al.,                                    Case No. 20-01947-JWB

                Debtors.                                         (Jointly Administered)


    FOURTH ENTERPRISES, LLC (F/K/A HOTSCHEDULES)’S SUPPLEMENT TO ITS
     LIMITED OBJECTION TO NOTICE OF ASSUMPTION AND ASSIGNMENT OF
              EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Fourth Enterprises, LLC (f/k/a HotSchedules) (“HotSchedules”) files this Supplement

(the “Supplement”) to its Limited Objection to Notice of Assumption and Assignment of

Executory Contracts and Unexpired Leases (the “Limited Objection”) to the alleged cure amount

set forth in the Notice of Assumption and Assignment of Executory Contracts and Unexpired

Leases [Docket No. 198] (the “Cure Notice”) served upon HotSchedules by the Debtors, and in

support thereof would show as follows:

                                       I.      BACKGROUND

         1.     On June 3, 2020 (the “Petition Date”), Barfly Ventures, LLC and its affiliated

entities1 (collectively, the “Debtors”) commenced these Chapter 11 cases by filing voluntary

petitions under Chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses

and managing their affairs as debtors-in-possession under 11 U.S.C §§ 1107 and 1108.


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  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Raids
Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC
(5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-
GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252),
HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-
Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House,
LLC and McFadden’s Restaurant Saloon)(4255).


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       2.      On July 24, 2020, the Debtors filed the Cure Notice, including the amounts the

Debtors believe were required to cure all defaults then existing under such contracts to be

assumed.

       3.      The Debtors indicated in the Cure Notice that they intend to assume and assign

certain of the Debtors’ executory contract with HotSchedules (the “Proposed Assumed

Contract”), as part of the 363 sales process.

       4.      Pursuant to the Cure Notice, the Debtors identified $8,046.40 as the amount

which it alleges to be owing to HotSchedules under the Proposed Assumed Contract (the

“Proposed Cure Amount”).

       5.      On August 6, 2020, HotSchedules filed the Limited Objection and asserted a total

cure amount of $31,690.35. A hearing on the Limited Objection was originally scheduled for

August 27, 2020, [Doc. No. 237], but was reset to September 15, 2020, [Doc. No. 285].

       6.      Since the filing of the Limited Objection, HotSchedules has provided additional

software and services to Debtors resulting in an additional $8,804.67 that remain due and owing.

A true and correct copy of the corresponding invoice supporting this additional amount is

attached hereto as Exhibit A.

       7.      HotSchedules agrees to the assumption of Proposed Assumed Contract with the

Debtors subject to finding out what entity is the Successful Bidder at the 363 sale and if such

Successful Bidder can provide adequate assurance of future performance; however,

HotSchedules disputes the Proposed Cure Amount in the Cure Notice. HotSchedules’ books and

records reflect a total cure amount of $40,495.02. The Proposed Cure Amount is less than what

is actually owed under the Proposed Assumed Contract.




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                          II.      OBJECTION TO CURE AMOUNT

       8.      HotSchedules entered into an agreement with Debtor Barfly Ventures, LLC (the

“HotSchedules Contract”) in which HotSchedules provides certain software and services as

identified in the HotSchedules Contract. Accordingly, HotSchedules files this Supplement

objecting to the Proposed Cure Amount set forth in the Cure Notice.

       9.      Pursuant to 11 U.S.C. § 365(b)(1)(A), the Debtors must cure any defaults under

the HotSchedules Contract in connection with any proposed assumption, as well as provide

adequate assurance of future performance. In this case, Debtors’ Proposed Cure Amount of

$8,046.40 fails to cure the existing defaults of the HotSchedules Contract, as is required under

Section 365 prior to assumption.

       10.     As of the date of this Supplement, the correct cure amount is $40,495.02 for

prepetition and postpetition payment defaults under the HotSchedules Contract. As a result,

under 11 U.S.C. § 365(b)(1)(A), in order to assume the HotSchedules Contract, HotSchedules

must receive a cure payment of at least $40,495.02. Otherwise, the HotSchedules Contract

cannot be assumed pursuant to Section 365.

       11.     HotSchedules also objects to the assumption and assignment of its contract

insofar as any additional postpetition performance by HotSchedules of any contract to be

assumed may give rise to additional accounts receivable that, as of the prospective time of

assumption and assignment, may be due or past-due and properly included in the Cure Amount.

       12.     HotSchedules reserves the right to object to the assumption and assignment of the

HotSchedules Contract to the Stalking Horse Bidder or the Successful Bidder until such time as

the Stalking Horse or the Successful Bidder provides adequate assurance of future performance

as is required by Section 365(b)(1) of the Bankruptcy Code.



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        WHEREFORE, HotSchedules prays (i) that the cure amount set forth in the Cure Notice

be corrected to reflect the correct prepetition and postpetition cure amount of $40,495.02, which

represents both prepetition and postpetition amounts due and owing under the HotSchedules

Contract as of the date of the filing of this Supplement; (ii) that HotSchedules be paid a cure

payment of $40,495.02 in connection with the assumption and assignment of the HotSchedules

Contract; and (iii) that HotSchedules be awarded such other and further relief to which it may be

justly entitled at law or in equity.


Dated: September 10, 2020

                                       Respectfully submitted,

                                       CLARK HILL PLC

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                Debtors.                                  (Jointly Administered)



                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on September 10, 2020, a true and correct copy of

the Supplement to the Limited Objection to Notice of Assumption and Assignment of Executory

Contracts and Unexpired Leases was filed using the Court’s CM/ECF system, which system will

serve the Supplement upon all parties requesting service via ECF notification. In addition, the

undersigned certifies that the Limited Objection was served by electronic mail upon (i) counsel

to the Debtors (John Lucas at jlucas@pszjlaw.com and Jason Rosell at jrosell@pszjlaw.com); (ii)

counsel to the Committee (Michael Brandess at mbrandess@sfgh.com); and (iii) counsel to the

Administrative Agent (Nathan Gimpel at nathangimpel@paulhastings.com).



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